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 8   Counsel for Defendant ZUNIGA
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10                               IN THE UNITED STATES DISTRICT COURT
11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN FRANCISCO DIVISION
13

14    UNITED STATES OF AMERICA,                     Case No.: CR 19–425 VC

15                  Plaintiff,                      DEFENDANT'S SENTENCING
                                                    MEMORANDUM
16           v.
                                                    Court:          Courtroom 4, 17th Floor
17    LUIS ZUNIGA,                                  Hearing Date:   January 21, 2020
18                  Defendant.                      Hearing Time:   10:30 a.m.

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     DEFENDANT'S SENTENCING MEMORANDUM
     ZUNIGA, CR 19–425 VC
              Case 3:19-cr-00425-VC Document 14 Filed 01/14/20 Page 2 of 3



 1         The defendant is one of the many individuals brought over to federal court after being arrested
 2   by state authorities for selling a small amount of drugs in the Tenderloin. In this case, Mr. Zuniga
 3   sold undercover police officers $17 worth of rock cocaine. His guidelines are 10 – 16 months. For
 4   the reasons set forth below, Mr. Zuniga respectfully asks the Court to sentence him to “time served.”
 5         As the Court is aware from the Presentence Report, Mr. Zuniga grew in a gang-controlled area
 6   of Honduras with an abusive father, who beat his mother and the children in the house whenever he
 7   got drunk. Although he began working in the fields with his father at age four, his father would
 8   attack him and his mother constantly with knives and machetes. The abuse was so severe that by age
 9   12 he was essentially kicked out of his house and had to live in the streets. He began using drugs,
10   and was constantly fighting with gang members. He never was able to attend school because his
11   family could not afford it.
12         A number of years ago Mr. Zuniga came to this country to make a new life, only to discover
13   that he had none of the life skills that would allow him to survive here. He was homeless and
14   continued to use drugs, and found himself being arrested a number of times for minor offenses. He
15   sold minor amounts of drugs to both feed his own habit and to buy food. In 2017, he was convicted of
16   an assessor to drug sales, and was placed on probation. As a condition of that probation, he was
17   attending various drug treatment classes in San Francisco prior to his arrest in this case.
18         Mr. Zuniga has now been in custody for approximately three and one-half months. The minute
19   he is released from custody, he is going to be deported back to Honduras. All of these facts indicate
20   that a sentence of time served will satisfy all of the goals of the Sentencing Reform Act. Mr. Zuniga
21   comes from an impoverished background where he grew up in truly horrible conditions. 1 He was
22   homeless at the time of his arrest, and was trying to survive on the streets. He has been punished by
23   having to serve a substantial jail sentence, considering the fact that this is a $17 sale of drugs. And
24   most importantly, he will be deported when he is finished with this sentence. There is no need to
25   prolong this deportation by putting Mr. Zuniga in custody for a longer sentence.
26         For these reasons, Mr. Zuniga asks for a sentence of time served.
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      The Probation Officer recognizes that Mr. Zuniga’s background might provide a basis for a
     downward variance. See PSR par. 74.
     DEFENDANT'S SENTENCING MEMORANDUM
     ZUNIGA, CR 19–425 VC
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              Case 3:19-cr-00425-VC Document 14 Filed 01/14/20 Page 3 of 3



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     Dated:     January 14, 2020                  Respectfully submitted,
 3
                                                  STEVEN G. KALAR
 4                                                Federal Public Defender
                                                  Northern District of California
 5
                                                           /S
 6                                                GEOFFREY A. HANSEN
                                                  Chief Assistant Federal Public Defender
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     DEFENDANT'S SENTENCING MEMORANDUM
     ZUNIGA, CR 19–425 VC
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